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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original

            LODGED
     CLERK, U.S. DISTRICT COURT      UNITED STATES DISTRICT COURT
     10/20/2020                                          for the                                    10/20/2020
  CENTRAL DISTRICT OF CALIFORNIA                                                                          SP
                 jb
   BY: ____________BB______ DEPUTY           Central District of California

 UNITED STATES OF AMERICA,

                     v.

 RICHARD AYVAZYAN,
   aka “Iuliia Zhadko,” and                                        Case No.
                                                                                  2:20-mj-05081-duty
 MARIETTA TERABELIAN,
  aka “Viktoria Kauichko,”

                     Defendants.

                                   CRIMINAL COMPLAINT BY TELEPHONE
                                  OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

As described in the accompanying attachment, defendants violated the following statute:

           Code Section                                            Offense Description

           18 U.S.C. § 1349                                        Conspiracy to Commit Wire Fraud
                                                                   and Bank Fraud

         This criminal complaint is based on these facts:

          Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                   /S/
                                                                                Complainant’s signature

                                                                           Justin Palmerton, Special Agent
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                       10/20/20                                     /S/ CHARLES F. EICK
                                                                                     Judge’s signature

 City and state: Los Angeles, California                              Hon. Charles Eick, U.S. Magistrate Judge
                                                                                 Printed name and title


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                         Complaint Attachment
              Statement of Facts Constituting the Offense

                          [18 U.S.C. § 1349]

     Beginning in or around March 2020 and continuing through at

least in or around July 2020, in Los Angeles County, within the

Central District of California, and elsewhere, defendant RICHARD

AYVAZYAN, also known as (“aka”) “Iuliia Zhadko” (“AYVAZYAN”),

and defendant MARIETTA TERABELIAN, aka “Viktoria Kauichko”

(“TERABELIAN”), together with others known and unknown,

conspired to commit wire fraud, in violation of Title 18, United

States Code, Section 1343, and bank fraud in violation Title 18,

United States Code, Section 1344.       The objects of the conspiracy

were carried out, and to be carried out, in substance as

follows:

     Defendants AYVAZYAN and TERABELIAN, and their co-

conspirators, would apply for Paycheck Protection Program

(“PPP”) and Economic Injury Disaster Loan (“EIDL”) loans using

stolen, fictitious, or synthetic identities and businesses.

Defendants AYVAZYAN and TERABELIAN, and their co-conspirators,

would submit false and fictitious documents in support of the

PPP and EIDL loan applications.      Defendants AYVAZYAN and

TERABELIAN, and their co-conspirators would direct that the PPP

and EIDL loan proceeds be deposited into bank accounts

defendants AYVAZYAN and TERABELIAN, and their co-conspirators,

controlled.    Defendants AYVAZYAN and TERABELIAN, and their co-

conspirators, would use the fraudulently obtained PPP and EIDL

loan proceeds for their own personal purposes.

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                                AFFIDAVIT
        I, Justin Palmerton, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION
        1.    I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since January

2018.    I am currently assigned to a Los Angeles Field Division

White Collar Crimes Squad, which is responsible for

investigating complex financial crimes.       Prior to being employed

by the FBI as a Special Agent, I was employed as a Certified

Public Accountant at a public accounting firm.         My roles and

responsibilities included financial statement audits, tax return

preparation and accounting consulting work.

        2.    Since becoming an FBI Special Agent in 2018, I have

received 21 weeks of formal training at the FBI Training Academy

in Quantico, Virginia.     During the time I have been employed by

the FBI, I have participated in investigations relating to wire

fraud, mail fraud, and various types of complex financial

crimes.      I have participated in many aspects of criminal

investigations including reviewing evidence, analyzing financial

documents, conducting physical and electronic surveillance,

working with informants, and executing search and arrest

warrants.

                        II. PURPOSE OF AFFIDAVIT

        3.    This affidavit is made in support of a criminal

complaint against, and arrest warrants for, RICHARD AYVAZYAN

(born 1978) (“AYVAZYAN”) and MARIETTA TERABELIAN (born 1984)
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(“TERABELIAN”) for violations of 18 U.S.C. § 1349 (Conspiracy to

Commit Bank and Wire Fraud).

     4.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
     5.      From in or around March 2020 through at least in or

around July 2020, stolen and/or fake identities were used to

fraudulently obtain disaster loans authorized by the Coronavirus

Aid, Relief, and Economic Security (“CARES”) Act through various

lenders and the Small Business Administration (“SBA”).          The

stolen and/or fake identities used to fraudulently obtain
disaster loan proceeds included “Viktoria Kauichko” and “Iuliia

Zhadko,” among others.     The fraudulently obtained disaster loan

proceeds were directed to accounts owned and/or controlled by

AYVAZYAN and TERABELIAN, among other co-conspirators, and then

used to purchase residential properties in the name of AYVAZYAN

and TERABELIAN, who are married, and in the name of “Iuliia

Zhadko.”     Using disaster loan proceeds as part of a down payment

on a residence for an individual’s personal benefit is also

fraudulent and violates the requirements for PPP and EIDL loans.


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     6.   On or about October 19, 2020, upon being stopped by

Customs and Border Protection (“CBP”) while re-entering the

United States at the Miami International Airport, AYVAZYAN was

found to be in possession of contraband, including credit cards

in the name of “Iuliia Zhadko” and “Viktoria Kauichko,” as well

as a digital photograph of a California driver’s license in the

name of “Iuliia Zhadko.”     TERABELIAN was found to be in

possession of contraband, including at least one credit card in

the name of “Viktoria Kauichko.”

                   IV. STATEMENT OF PROBABLE CAUSE
     7.   Based on witness interviews I have conducted, my

review of documents obtained from third parties, reports of

interviews conducted by other law enforcement officers,

conversations with other law enforcement officers, and publicly

filed documents, I know the following:

     A.   The Paycheck Protection Program (“PPP”)
     8.   The CARES Act is a federal law enacted in or around

March 2020 and designed to provide emergency financial

assistance to the millions of Americans who are suffering the

economic effects caused by the COVID-19 pandemic.         One source of

relief provided by the CARES Act was the authorization of up to

$349 billion in forgivable loans to small businesses for job

retention and certain other expenses, through the Paycheck

Protection Program,    which is referred to as the PPP.        In or

around April 2020, Congress authorized over $300 billion in

additional PPP funding.




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     9.     In order to obtain a PPP loan, a qualifying business

must submit a PPP loan application, which is signed by an

authorized representative of the business.        The PPP loan

application requires the business (through its authorized

representative) to acknowledge the program rules and make

certain affirmative certifications in order to be eligible to

obtain the PPP loan.    In the PPP loan application, the small

business (through its authorized representative) must state,

among other things, its: (a) average monthly payroll expenses;

and (b) number of employees.      These figures are used to

calculate the amount of money the small business is eligible to

receive under the PPP.     In addition, businesses applying for a

PPP loan must provide documentation showing their payroll

expenses.

     10.    A PPP loan application must be processed by a

participating financial institution (the lender).         If a PPP loan

application is approved, the participating financial institution

funds the PPP loan using its own monies, which are 100%

guaranteed by the SBA.     Data from the application, including

information about the borrower, the total amount of the loan,

and the listed number of employees, is transmitted by the lender

to the SBA in the course of processing the loan.

     11.    PPP loan proceeds must be used by the business on

certain permissible expenses—payroll costs, interest on

mortgages, rent, and utilities.      The PPP allows the interest and

principal on the PPP loan to be entirely forgiven if the

business spends the loan proceeds on these expense items within


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a designated period of time and uses a certain percentage of the

PPP loan proceeds on payroll expenses.

     B.    The Economic Injury Disaster Relief Program (“EIDL”)
     12.   The EIDL program is an SBA program that provides low-

interest financing to small businesses, renters, and homeowners

in regions affected by declared disasters.

     13.   The CARES Act authorized the SBA to provide EIDLs of

up to $2 million to eligible small businesses experiencing

substantial financial disruption due to the COVID-19 pandemic.

In addition, the CARES Act authorized the SBA to issue advances

of up to $10,000 to small businesses within three days of

applying for an EIDL.    The amount of the advance is determined

by the number of employees the applicant certifies having.           The

advances do not have to be repaid.

     14.   In order to obtain an EIDL and advance, a qualifying

business must submit an application to the SBA and provide

information about its operations, such as the number of

employees, gross revenues for the 12-month period preceding the

disaster, and cost of goods sold in the 12-month period

preceding the disaster.     In the case of EIDLs for COVID-19

relief, the 12-month period was that preceding January 31, 2020.

The applicant must also certify that all of the information in

the application is true and correct to the best of the

applicant’s knowledge.

     15.   EIDL applications are submitted directly to the SBA

and processed by the agency with support from a government

contractor.   The amount of the loan, if the application is


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approved, is determined based, in part, on the information

provided by the application about employment, revenue, and cost

of goods, as described above.      Any funds issued under an EIDL or

advance are issued directly by the SBA.       EIDL funds can be used

for payroll expenses, sick leave, production costs, and business

obligations, such as debts, rent, and mortgage payments.          If the

applicant also obtains a loan under the PPP, the EIDL funds

cannot be used for the same purpose as the PPP funds.

     C.    Fraudulently Obtained Disaster Loan Proceeds Used to
           Purchase Real Estate in the Name of AYVAZYAN and
           TERABELIAN
     16.   Based on my review of loan documents provided by the

SBA, I know that on or about June 15, 2020, the SBA received an

application in the name of Timeline Transport, Inc. (“Timeline

Transport”) seeking an EIDL loan in the amount of $150,000.           The

application was submitted in the name of Iuliia Zhadko via the

SBA’s online portal.

     17.   In the application, an individual purporting to be

Zhadko represented that, as of January 31, 2020, Timeline

Transport employed 22 individuals and had gross revenues of

$1,601,840.   “Zhadko” further represented that he was the Chief

Executive Officer (”CEO”) and that he had owned Timeline

Transport since 2016.    The Employer Identification Number

(“EIN”) listed for Timeline Transport on the loan application is

XX-XXXXXXX.

     18.   The SBA approved Timeline Transport’s application and

funded the loan.    On or about June 22, 2020, the SBA wired




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$149,900 to a bank account at Financial Institution 1 ending in

0172, for which “Iuliia Zhadko” was the sole signatory.

        19.   The government’s investigation has revealed that

Timeline Transport’s application to the SBA contained materially

false and misleading information.         For example:

              a.     The application states that Timeline Transport

had 22 employees as of January 31, 2020.

              b.     Based on my review of publicly available filings

with the California Secretary of State, I know that Timeline

Transport was first registered on May 1, 2020.

              c.     Based on my review of records provided by the

State of California’s Employment Development (“CA EDD”), I know

that CA EDD        was unable to locate any record of Timeline

Transport having employees in 2019 or 2020.

              d.     The application states that the EIN for Timeline

Transport is XX-XXXXXXX.       Based on information provided to me

from other law enforcement agencies, I know that the earliest an

“85” EIN prefix could be issued online was on March 23, 2020.

              e.     The Internal Revenue Service (“IRS”) has

confirmed that there is no record of Timeline Transport filing

employment tax or federal income tax returns with the IRS in

2019.

        20.   “Iuliia Zhadko” appears to be a fake or synthetic 1
identity used by AYVAZYAN.       Among other things, law enforcement


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       Synthetic identities are false identities created with
certain key details, such as personally identifiable information
or Social Security numbers stolen from real people. Based on my


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agents involved in this investigation have not been able locate

any record of a “Iuliia Zhadko” in California Department of

Motor Vehicles’ (“CA DMV”) records.       Nonetheless, as discussed

below, AYVAZYAN was found in possession of digital image of a

purported California Driver’s License (“CADL”) in the name of

“Iuliia Zhadko.”     In addition, AYVAZYAN possessed credit cards

in the name of “Iuliia Zhadko.”

        21.   The application directed the EIDL loan proceeds to be

sent to a bank account at Financial Institution 1 ending in

0172.    Based on bank records from Financial Institution 1, I

know that the account ending in 0172 was only opened on May 4,

2020.    On or about June 24, 2020 -- just two days after the EIDL

loan proceeds were received on June 22, 2020 -- a $110,000 wire

was sent from the account ending 0172 to Encore Escrow.           The

entirety of the $110,000 appears to have been derived from the

EIDL funds Timeline Transport obtained on June 22, 2020.

        22.   I reviewed records provided by Encore Escrow and

determined that the $110,000 wired from the account ending in

0172 went into an escrow account to fund a portion of a down-

payment on the purchase of a residential property at Address 1

in Tarzana, California.     The purchase price of this property was

$3,250,000.     An e-mail sent from an individual identifying

himself “Richard Ayvazyan” to the escrow agent on or about June

24, 2020, stated: “This one went through for 65k. The other one



training and experience, these false identities are used to
defraud financial institutions, government agencies, or
individuals.

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for 110k I don’t have confirmation yet. I will send that over as

soon as I get it.”

     23.   Based on my review of records provided by Encore

Escrow, the residential property at Address 1 was purchased in

the names of AYVAZYAN and TERABELIAN.

     24.   My review of records provided by Encore Escrow further

revealed that, in addition to the $110,000 wire from the 0172

account at Financial Institution 1, on or about June 22, 2020, a

$565,000 wire transfer was sent from the bank account at

Financial Institution 2 ending in 1475 to Encore Escrow.

     25.   Based on my review of bank records provided by

Financial Institution 2, I know that TERABELIAN was the only

signatory on the account ending in 1475.

     26.   Bank records for TERABELIAN’s account at Financial

Institution 2 further revealed that the funds for the $565,000

wire transfer came from approximately nine preceding wire

transfers to TERABELIAN’s account.       Several of these preceding

wire transfers were made from bank accounts that had recently

received disaster loan funds.      For example:

           a.    Based on records provided by Lender 3, on or

about May 3, 2020, Person 1 applied for a PPP loan in the amount

of $113,750 on behalf of G&A Diamonds.        Lender 3 approved the

application and on or about May 5, 2020, funded the loan by

wiring $113,750 to G&A Diamonds’ bank account at Financial

Institution 4 ending 1964.

           b.    Based on records provided by the SBA, on or about

April 8, 2020, Person 1 applied for an EIDL loan in the amount


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of $145,000 on behalf of G&A Diamonds.        The SBA approved the

application and on or about June 16, 2020, funded the loan by

wiring $144,900 to G&A Diamonds’ bank account at Financial

Institution 4 ending 1964.      G&A Diamonds did not use the PPP or

EIDL funds to pay employees.      Instead, on or about June 19,

2020, Person 1 wired $100,000 from the account at Financial

Institution 4 ending in 1964 to TERABELIAN’s account at

Financial Institution 2 ending 1475.

           c.    Based on my review of loan documents provided by

the SBA, I know that on or about June 2, 2020, the SBA received

an application in the name of Redline Auto Collision (“Redline

Auto Collision”) seeking an EIDL loan in the amount of $150,000.

The application was submitted by Person 2.

           d.    On or about June 8, 2020, the SBA approved the

application and funded the loan by wiring $149,900 into an

account held at Financial Institution 5 ending in 1732.           Based

on a review of records provided by Financial Institution 5, I

know that Person 2 is the sole signatory on this account.

Redline Auto Collision did not use the EIDL loan to pay

employees but instead wired $150,000 to TERABELIAN’s account at

Financial Institution 2 ending 1475, on or about June 17, 2020.

           e.    Using disaster loan proceeds as part of a down

payment on a residence for an individual’s personal benefit is

fraudulent and violates the requirements for PPP and EIDL loans.




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     D.    Fraudulently Obtained PPP Loan Proceeds Used to
           Purchase Real Estate in the Name of “Zhadko”
     27.   Based on my review of loan documents provided by the

SBA and Lender 1, which is an FDIC-insured financial

institution, I know that on or about July 13, 2020, Lender 1

received a PPP loan application in the name of Runyan Tax

Services, Inc. (“Runyan Tax Services”) seeking a PPP loan in the

amount of $276,653.     The application was submitted by an

individual purporting to be “Viktoria Kauichko.”         “Kauichko”

purported to be the CEO and 100% owner of Runyan Tax Services

and represented that Runyan Tax Services employed 22 individuals

as of January 31, 2020.

     28.   In support of the application, an individual

purporting to be “Kauichko” submitted a copy of her CADL with

the license number D3257870.

     29.   Lender 1 approved Runyan Tax Services’ application and

funded the loan.    On or about July 21, 2020, Lender 1 sent a

wire in the amount of $276,653 to a bank account at Financial

Institution 2 ending in 9700, for which “Viktoria Kauichko” was

the sole signatory.

     30.   The government’s investigation has revealed that

Runyan Tax Service’s application to the SBA contained materially

false and misleading information.        For example:

           a.    The application states that Runyan Tax Service

had 22 employees as of January 31, 2020.        Information provided

by CA EDD show that no employment records exist for Runyan Tax

Services for 2019 and 2020.



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           b.    The CADL provided by “Kauichko” in support of the

application is fake.     A review of records provided by CA DMV

revealed that there was no CADL for a Viktoria Kauichko and that

the CADL number listed on the license provided by “Kauichko” is

actually registered to a different individual.

     31.   Based on bank records provided by Financial

Institution 2, I know that the account ending in 9700 was only

opened on July 1, 2020 (i.e., less than two weeks before the
individual purporting to be “Kauichko” submitted the PPP loan

application for Runyan Tax Services).

     32.   Based on bank records provided by Financial

Institution 2, on July 23, 2020, a wire transfer in the amount

of $238,614 was sent from the bank account at Financial

Institution 2 ending in 9700 to Beverly Hills Escrow.          The

entirety of the $238,614 wire transfers appears to have derived

from the $276,653 in PPP loan proceeds Runyan Tax Services

received on July 21, 2020.

     33.   After reviewing records provided by Beverly Hills

Escrow, I learned that the $238,614 wire was used for the down

payment on a property at Address 2 in Glendale, California being

purchased by “Iuliia Zhadko” for approximately $1,000,000.

     E.    Fraudulent PPP Application Submitted on Behalf of Top
           Quality Contracting Using a Stolen Identity
     34.   Based on my review of loan documents provided by the

SBA and Lender 2, also an FDIC-insured financial institution, I

know that on or about April 30, 2020, Lender 2 received a PPP

loan application in the name of Top Quality Contracting (“TQC”),



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seeking a PPP loan in the amount of $130,000.         The application

was submitted by an individual purporting to be Victim 1.

        35.   The application represented that Victim 1 was TQC’s

sole owner, that the average monthly payroll was $52,000, and

that TQC had 12 employees.

        36.   In support of the application, the individual

purporting to be Victim 1 submitted: (i) an IRS Form 940

purportedly prepared by Victim 1 listing TQC’s EIN as 82-

5088385; and (ii) a purported copy of Victim 1’s CADL with the

CADL number F0059222.

        37.   Lender 2 approved TQC’s application and funded the

loan.    On or about May 8, 2020, Lender 2 wired $130,000 to a

bank account at Financial Institution 3 ending in 3517.           Based

on bank records provided by Financial Institution 3, the account

was a business checking account titled “Iuliia Zhadko dba Top

Quality Contracting.”     The signatories on the account were

“Iuliia Zhadko” as TQC’s sole owner and Victim 1 as a secondary

signer.

        38.   The government’s investigation has revealed that TQC’s

application to Lender 2 contained materially false and

misleading information.     For example:

              a.   The CADL for Victim 1 submitted with TQC’s

application is fake and did not match CA DMV’s records.

              b.   Information provided by    CA EDD shows that no

employment records existed for TQC for 2019.

              c.   The IRS has indicated that the EIN number listed

in the Form 940 submitted in support of TQC’s PPP loan


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application is incorrect, and confirmed that there is no record

of TQC filing employment tax or federal income tax returns with

the IRS in 2019.

     39.    Upon being interviewed by law enforcement, Victim 1

stated that he had not applied for any PPP loans and had not

authorized anyone to apply for a PPP loan on his or TQC’s

behalf.    Victim 1 did not recognize the PPP loan application

submitted to Lender 2 and had not applied for any type of

government assistance.     According to Victim 1, TQC was a sole-

proprietorship and did not have any employees.         In addition,

Victim 1 did not recognize the CADL submitted with the

application.    Victim 1 also stated that he had not opened the

bank account at Financial Institution 3 ending in 3517.

     F.     Other Disaster Loan Applications Submitted in the
            Names of “Zhadko,” “Kauichko” and Victim 1
     40.    In addition to the disaster loan applications

described above, based on information obtained from the SBA,

several other PPP and EIDL loan applications were submitted in

the names of “Zhadko” and “Kaiuchko,” including:



                                  Approx.
    Company       Applicant       Application Amount      Lender     Status
                                  Date
    Timeline
                  Iuliia Zhadko   05/04/2020   $113,750   Lender 2   Cancelled
    Transport

    Timeline
                  Iuliia Zhadko   06/25/2020   $122,400   Lender 2   Approved
    Transport

    Timeline                                                         Not
                  Iuliia Zhadko   07/01/2020   $122,400   Lender 4
    Transport                                                        Disbursed




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    TQC            Iuliia Zhadko   04/13/2020   $185,000   Lender 5   Approved

    TQC            Iuliia Zhadko   04/08/2020   $185,000   Lender 6   Withdrawn

    TQC            Iuliia Zhadko   03/30/2020   $112,100   SBA        Approved

    Classic
                   Iuliia Zhadko   05/26/2020   $150,000   SBA        Cancelled
    Nursery

    Viktoria       Viktoria
                                   07/01/2020   $150,000   SBA        Approved
    Kauichko       Kauichko

    Journeyman     Viktoria
                                   05/19/2020   $150,000   SBA        Approved
    Construction   Kauichko

    Fiber One      Viktoria
                                   06/15/2020   $150,000   SBA        Approved
    Media          Kauichko

    Fiber One      Viktoria
                                   06/17/2020   $150,000   SBA        Approved
    Media, Inc.    Kauichko

    Fiber One      Viktoria
                                   06/17/2020   $276,652   Lender 7   Cancelled
    Media, Inc.    Kauichko

    Fiber One      Viktoria
                                   04/15/2020   $130,000   Lender 5   Approved
    Media, Inc.    Kauichko

    Fiber One      Viktoria
                                   05/01/2020   $130,000   Lender 2   Cancelled
    Media, Inc.    Kauichko




     G.       CBP Stop at Miami International Airport
     41.      Based on my discussions with CBP officers and other
federal law enforcement agents in Miami, Florida, I understand

that on October 19, 2020, AYVAZYAN and TERABELIAN re-entered the

United States at Miami International Airport as they returned

from a trip to Providenciales, which is a resort island in Turks

and Caicos. AYVAZYAN and TERABELIAN were subject to a border

stop by CBP, during which they were searched for contraband.

Among other things, CBP’s search revealed that AYVAZYAN was in

possession of credit cards in the names of “Viktoria Kauichko”

and “Iuliia Zhadko.”      During a manual search of AYVAZYAN’s

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cellphone for digital contraband, CBP also discovered a digital

image of a CADL in the name of “Iuliia Zhadko” bearing

AYVAZYAN’s address.     CBP’s search further revealed that

TERABELIAN was in possession of at least one credit card in the

name of “Viktoria Kauichko.”      CBP also conducted a manual search

of TERABELIAN’s cellphone for digital contraband and discovered

text messages in which TERABELIAN appeared to be using the

identity of “Viktoria Kauichko” to communicate with others.

     G.    Prior Convictions
     42.   Based on my review of public court records, I know

that AYVAZYAN and TERABELIAN were previously convicted of

violation of 18 U.S.C. § 371 (Conspiracy to Commit Bank Fraud)

in the Central District of California in 2012, United States v.
Ayvazyan, et al, No. SA CR 11-180-CJC.

                                 * * * *

     43.   Based on the above information, there is probable

cause to believe that AYVAZYAN and TERABELIAN together, and with

others known and unknown, knowingly combined, conspired,
confederated, and agreed to submit, and caused to be submitted,

fraudulent loan applications to various financial institutions

and the SBA, seeking funds through the PPP and EIDL programs,

and improperly used those funds for their own personal benefit

rather than for the business expenses for which the loan

applications certified they would be used.




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                             V. CONCLUSION
     44.   For all the reasons described above, there is probable

cause to believe that AYVAZYAN and TERABELIAN violated 18 U.S.C.

§ 1349 (Conspiracy to Commit Bank and Wire Fraud)



                                                 /S/
                                         Justin Palmerton
                                         Special Agent
                                         Federal Bureau of
                                         Investigation

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 20th day of
October, 2020.


     /S/ CHARLES F. EICK
HONORABLE CHARLES EICK
UNITED STATES MAGISTRATE JUDGE




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